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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


IN THE MA ER OF
                                           Hon. James B. Clark III
THE EXTRA ITION OF
WIESLAW K ZLOWSKI
                                           No.   14-~(JBC)
                                           DISMISSAL ORDER


      This m   ter having been opened to the Court on motion of the United

States, by Pa 1 J. Fishman, United States Attorney for the District of New Jersey

(Justin S. Her ing, Assistant United States Attorney, appearing), to Dismiss the

Request for E tradition of Wieslaw Kozlowski:

      IT IS, t erefore, on this   J.Zltj    day of December 2014,

      ORDER D, that his matter shall be DISMISSED.




                                      Hon/ ames B. Clark III
                                      Uni ed States Magistrate Judge
  Case 2:14-mj-03225-JBC Document 20 Filed 12/22/14 Page 2 of 2 PageID: 298




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


IN THE MA  R OF THE                        Mag. No. 14-3225
EXTRADITIO OF
WIESLAW K ZLOWSKI                          Hon. James B. Clark, III

                                           Motion to Dismiss



      The Uni ed States, on behalf of the Republic of Poland, hereby files this

motion reques ing dismissal of the Extradition Request for Wieslaw Kozlowski.

The United St tes Attorney's Office was notified today that the Republic of Poland

has withdraw its request for the extradition of Wieslaw Kozlowski pending

resolution oft is matter in Poland. Accordingly, the government respectfully

requests dism ssal of this Extradition Request.

                                     Respectfully submitted,



                                      PAUL J. FISHMAN
                                      United States Attorney

                                       Isl Justin S. Herring
                                      By: JUSTIN S. HERRING
                                      Assistant U.S. Attorney

 Dated:   De   mber 22, 2014
